     Case: 1:23-cv-11244 Document #: 87 Filed: 01/31/24 Page 1 of 1 PageID #:734

                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                                 Eastern Division

Hera Print, Inc.
                                                          Plaintiff,
v.                                                                       Case No.:
                                                                         1:23−cv−11244
                                                                         Honorable John J.
                                                                         Tharp Jr.
The Partnerships and Unincorporated Associations
Identified in Schedule "A", et al.
                                                          Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, January 31, 2024:


        MINUTE entry before the Honorable John J. Tharp, Jr:Defendants Fengze Qu
Yunyan Fushi Shanghang d/b/a/ Dokotoo and Jinjiang Shi Hongxiang Fushi Zhizao CO,.
LTD. d/b/a Roskiki's motion to release check bond [86] is granted. The Clerk of the Court
is directed to release the $7,000 check bond that the defendants posted, plus any accrued
interest, to the defendants, or their counsel, Whitewood Law LLC, 57 West, 57th Street,
3rd and 4th Floors, New York, NY, 10019. Mailed notice(air, )




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